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3                              UNITED STATES DISTRICT COURT
4                                     DISTRICT OF NEVADA
5     LUIS CARDENAS-ORNELAS,                           Case No. 3:17-cv-00461-MMD-CLB
6                                      Petitioner,                   ORDER
             v.
7
      RENEE BAKER, et al.,
8
                                   Respondents.
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10          This habeas matter is before the Court on Respondents’ third Motion for
11   Enlargement of Time (ECF No. 65).
12          The Court’s last order stated: “no further extensions will be granted with respect to
13   Respondents’ answer.” (ECF No. 64.) Counsel now seeks a six-day extension due to an
14   “unforeseeable family emergency.” (ECF No. 65.) The Court will reluctantly allow the
15   additional six days.
16          It is therefore ordered that Respondents’ third Motion for Enlargement of Time (ECF
17   No. 65) is granted. Respondents have until October 7, 2020, to respond to Petitioner’s
18   Second Amended Petition (ECF No. 22).
19          DATED THIS 2nd day of October 2020.
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                                               MIRANDA M. DU
22                                             CHIEF UNITED STATES DISTRICT JUDGE
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